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                     UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HARRY VERNON,                            :
                                         :
                 Plaintiff,              :
                                         :
vs.                                      :          No. 2:18-CV-03902-ER
                                         :
INTERNATIONAL PAPER                      :
COMPANY, et al.,                         :
                                         :
                 Defendants.             :


                                      ORDER

      AND NOW, this _____ day of __________________________, upon consideration

of Defendant Owens-Illinois, Inc.’s Motion to Dismiss Plaintiff’s Amended Complaint

under Fed. R. Civ. P. 12(b)(6) for Failure to State a Claim, it is hereby ORDERED and

DECREED that Plaintiff’s Amended Complaint is dismissed with prejudice.


                                             BY THE COURT:




                                             ________________________________
                                             Eduardo C. Robreno, J.
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                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HARRY VERNON,                                :
                                             :
                   Plaintiff,                :
                                             :
vs.                                          :           No. 2:18-CV-03902-ER
                                             :
INTERNATIONAL PAPER                          :
COMPANY, et al.,                             :
                                             :
                   Defendants.               :

                  DEFENDANT OWENS-ILLINOIS, INC.’S
         MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT
        UNDER FED. R. CIV. P. 12(B)(6) FOR FAILURE TO STATE A CLAIM

       Defendant Owens-Illinois, Inc. moves to dismiss Plaintiff’s Amended Complaint

under Fed. R. Civ. P. 12(b)(6) for failure to state a claim. Such relief is warranted for the

reasons set forth in Owens-Illinois, Inc.’s memorandum of law and exhibits filed in

support of this motion.




Dated: October 12, 2018                   Respectfully submitted,

                                          MARON MARVEL BRADLEY
                                          ANDERSON & TARDY LLC

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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HARRY VERNON,                                :
                                             :
                    Plaintiff,               :
                                             :
vs.                                          :          No. 2:18-CV-03902-ER
                                             :
INTERNATIONAL PAPER                          :
COMPANY, et al.,                             :
                                             :
                    Defendants.              :

                    DEFENDANT OWENS-ILLINOIS, INC.’S
       MEMORANDUM OF LAW IN SUPPORT OF THE MOTION TO DISMISS
       PLAINTIFF’S AMENDED COMPLAINT UNDER FED. R. CIV. P. 12(B)(6)
                      FOR FAILURE TO STATE A CLAIM

      This is a two-defendant asbestos case where the Plaintiff claims that he was exposed

to asbestos while working at an International Paper Company facility in Pennsylvania

for several decades. The Amended Complaint also purports to state a claim against

Owens-Illinois, Inc. (“Owens-Illinois”) despite there being no comparable factual basis.

The Amended Complaint does not allege that the Plaintiff ever worked at an Owens-

Illinois facility or worked around people using Owens-Illinois products. It also does not

allege that he ever used a product made or sold by Owens-Illinois. Nor does it allege

that he ever lived in the household with anyone who either worked at an Owens-Illinois

facility or used Owens-Illinois products.

      Rather, the entire basis of the claims against Owens-Illinois—sounding in

negligence, conspiracy, strict liability, and “neighborhood exposure”—is that the

Plaintiff resided within a few miles of an Owens-Illinois manufacturing facility and
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“walked at, near, by and/or on the dump site” where Owens-Illinois allegedly disposed

of materials from its manufacturing facility. As shown below, the assertion that Owens-

Illinois owned and operated the dump site is demonstrably false based on public

records. In essence, the tort claim against Owens-Illinois is based on a theory that, in the

1950s, Owens-Illinois owed a legal duty to virtually anyone who lived or walked

around in the general vicinity of Berlin, New Jersey.

   No New Jersey case so holds. The Amended Complaint against Owens-Illinois

therefore seeks to expand New Jersey tort law beyond recognition. In seeking this vast

expansion of tort liability, the Plaintiff fails to provide sufficient facts to state any claim

for relief and should be dismissed with prejudice.

                                 LEGAL STANDARDS

   A Rule 12(b)(6) motion tests the sufficiency of a complaint. Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). “Under Rule 8(a)(2) of the Federal Rules of Civil Procedure, a pleading

must contain a ‘short and plain statement of the claim showing that the pleader is

entitled to relief.’” Id. at 677-78 (quoting Fed. R. Civ. P. 8(a)(2)). “To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.” Id. at 678 (internal citations and quotations

omitted); see also Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2010) (“To prevent

dismissal, all civil complaints must now set out ‘sufficient factual matter’ to show that

the claim is facially plausible.”). And while a court must accept all well-pleaded factual

allegations in a complaint, that “tenet … is inapplicable to legal conclusions.” Id. Thus, a

“formulaic recitation of the elements of a cause of action will not do.” Bell Atlantic Corp.


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v. Twombly, 550 U.S. 544, 555 (2007) (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)).

Furthermore, a complaint must include sufficient facts which move a claim from being

simply “possible” to “probable.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 557).

   In deciding a Rule 12(b)(6) motion the court may, in addition to the allegations in the

complaint, rely on matters of public record. See Johnson v. Zwolak, No. CIV.A.08-4854,

2009 WL 928563, at *2 (E.D. Pa. Apr. 7, 2009) (citations omitted). This includes property

records. Id. at *3 (“the Court may take judicial notice of the deed, a public record, which

is attached to [defendant’s] Motion to Dismiss”).

                          CHOICE OF SUBSTANTIVE LAW

   As a court sitting in diversity, this Court applies the forum state’s choice of law

rules. St. Paul Fire & Marine Ins. Co. v. Lewis, 935 F.2d 1428, 1431 n.3 (3d Cir. 1991) (citing

Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487 (1941)). The Plaintiff is a resident of

New Jersey. Am. Compl. ¶ 12, 37. As to Owens-Illinois, all of the Plaintiff’s alleged

exposure to asbestos took place in New Jersey. Id. at ¶ 42. The Plaintiff also alleges that

he was diagnosed with an asbestos-related disease in New Jersey. Id. at ¶ 13. Thus, New

Jersey law applies to the Plaintiff’s claims against Owens-Illinois. Marks v. Redner’s

Warehouse Markets, 136 A.3d 984, 989 (Pa. 2016) (stating that there is “a presumption in

personal injury cases that favors the application of the law of the state where the injury

occurred”).




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                                       ARGUMENT

I.      COUNT I FAILS TO STATE A CLAIM FOR NEGLIGENCE.

     In Count I, Plaintiff fails to plead sufficient facts to support a claim for negligence.

The entire count makes no distinction between either defendant and makes no specific

allegations against International Paper Company or Owens-Illinois justifying the relief

sought. Indeed, the Amended Complaint provides only one conclusory allegation that

“O-I owed Plaintiff a duty of care.” Am. Compl. ¶ 41. That lone conclusory allegation

does not satisfy the “plain and clear” mandate of Rule 8 or meet the plausibility

standards set forth in Twombly and Iqbal, let alone the legal theory upon which Plaintiff

claims a duty of care under New Jersey law. 1

     No New Jersey court has ever held that a plaintiff who merely “walked by” a

manufacturing facility or a dump site where a company deposited trash has a cause of

action in negligence for such “neighborhood exposure.” Nor does the Amended

Complaint provide facts to impose such a legal duty of care against Owens-Illinois.




1 Moreover, New Jersey law no longer recognizes a common-law negligence claim for
harm allegedly caused by a product. N.J. Stat. Ann. § 2A:58C-1 (“‘Product liability
action’ means any claim or action brought by a claimant for harm caused by a product,
irrespective of the theory underlying the claim, except actions for harm caused by
breach of an express warranty.”); Clements v. Sanofi-Aventis, U.S., Inc., 111 F. Supp. 3d
586, 596–97 (D.N.J. 2015) (dismissing negligence count and collecting cases where “the
Third Circuit, this district court, and the state courts of New Jersey have consistently
dismissed product liability claims based on those common-law theories”).



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Nowhere does the Plaintiff allege that he had a relationship of any kind with Owens-

Illinois during this period. 2

    Here, the alleged “neighborhood exposure” could only have taken place in the 1950s

because it is a matter of public record that Owens-Illinois stopped the manufacture of

insulation products in 1958, selling its business, including its Berlin, New Jersey plant. 3

But the Plaintiff never alleges that he visited, let alone worked at, the Owens-Illinois

manufacturing facility in the 1950s, or any other time. Am. Compl. ¶ 37. Additionally,

Plaintiff’s claim that Owens-Illinois owned and operated the dump site along New

Freedom Road, which he does claim to have walked by, is simply false. Attached as



2
  New Jersey courts have addressed the limits of a premises owner’s duty. In Olivo, the
court held that a household member of a worker who himself was occupationally
exposed to asbestos has a tort claim against the owner of the worker’s place of
employment (Olivo v. Owens-Illinois, Inc. 186 N.J. 394, 895 A.2d 1143 (2006)), but the
court cautioned in Olivo and Accuratus against improperly expanding tort duties
beyond this setting (Schwartz v. Accuratus Corp., 294 F. Supp. 3d 386, 392 (E.D. Pa. 2018)
(“While the [Olivo] court refused to impose a categorical limit on whether take-home
toxic-tort liability could extend beyond a spouse, it warned against extending liability
beyond its intended purpose”)).

3
 See Kurak v. A.P. Green Refractories Co., 689 A.2d 757, 760 (N.J. App. Div. 1997) (“OI
began manufacturing Kaylo, an asbestos-containing hot pipe insulating cover, and
asbestos block, sheets of insulating material, in 1948. In 1953, OCF became the exclusive
distributor of these materials for OI. In 1958, OCF purchased the business from OI and
continued to use the brand name ‘Kaylo.’ In 1972, OCF stopped manufacturing these
materials.”); Cadlo v. Owens-Illinois, Inc., 125 Cal. App. 4th 513, 516 (2004), as
modified (Dec. 30, 2004) (“In 1958 Owens-Illinois sold its Kaylo division to Owens-
Corning Fiberglas Corporation (OCF). With the sale Owens-Illinois ceased all
manufacture, sale, and distribution of Kaylo.”); Giacobbe v. Celotex Corp., 629 F. Supp.
827, 829 (E.D. Pa. 1985) (“Defendant [Owens-Illinois] sold and manufactured asbestos-
containing products for a period of years, but ceased selling and manufacturing such
products on or about April 30, 1958.”).


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Exhibit A is the public record of the deed of sale of the property at issue along New

Freedom Road. It clearly shows that the Fonte Family owned the land beginning in or

about 1944 and sold it in 1970. Owens-Illinois was not the premises owner of this

property and did not operate or control its activities. Plaintiff’s conclusory allegations

that Owens-Illinois owed a duty to Plaintiff are baseless.

    Nor does the Plaintiff allege facts that show Owens-Illinois knew or should have

known, in the 1950s, that merely living “near” a manufacturing plant or “walking by” a

dump site would generate sufficient asbestos exposure to pose a health risk. There is a

good reason. No one in the world reported disease from such exposure (or even from

household exposure derived from occupational exposures) during this time period (and

well before the Occupational Safety and Health Administration standards released in

1972). Courts around the country have so held. 4



4
  See Martin v. Gen. Elec. Co., No. CIV. A. 02-201-DLB, 2007 WL 2682064, at *5 (E.D. Ky.
Sept. 5, 2007), aff'd sub nom. Martin v. Cincinnati Gas & Elec. Co., 561 F.3d 439 (6th Cir.
2009) (“Under the facts of this case, neither [defendant] owed a legal duty to Plaintiff's
Decedent because the potential harm of non-occupational asbestos exposure was not
foreseeable to either Defendant during the relevant time period. Although the general
danger of prolonged occupational asbestos exposure to asbestos manufacturing
workers was known by at least the mid–1930s, the extension of that harm to others was
not widely known until at least 1972, when OSHA regulations recognized a causal
connection.”); Georgia Pac., LLC v. Farrar, 432 Md. 523, 541, 69 A.3d 1028, 1039 (2013)
(“Assuming such warnings would, in fact, have reached the workers, much less
bystanders, until the 1972 OSHA regulations were adopted . . . what were the workers
to do? . . . The simple fact is that, even if Georgia Pacific should have foreseen back in
1968–69 that individuals such as Ms. Farrar were in a zone of danger, there was no
practical way that any warning given by it to any of the suggested intermediaries
would or could have avoided that danger.”); compare with, Chaisson v. Avondale Indus.,
Inc., 2005-1511 (La. App. 4 Cir. 12/20/06), 947 So. 2d 171, 183, writ denied, 2007-0411 (La.


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   Under the Plaintiff’s theory against Owens-Illinois, it would owe a legal duty to

anyone and everyone who ever “walked by” any activity that could conceivably

involve the use or disposal of asbestos, no matter the quantity involved, the degree of

exposure likely to be experienced, or the absence of any scientific evidence that such

exposures actually cause disease. Courts around the country have acknowledged that

there is asbestos in the ambient air in virtually every city and town in this country and

as such cannot be the sole basis for causation to injury, thus rejecting “every fiber”

causation theories. E.g., Krik v. Exxon Mobil Corp., 870 F.3d 669, 677 (7th Cir. 2017)

(“Allowing causation to be established through testimony like [the expert’s] would

‘permit imposition of liability ... with which a worker had the briefest of encounters on

a single occasion.’ This is precisely the sort of unbounded liability that the substantial

factor test was developed to limit.” (quoting McIndoe v. Huntington Ingalls Inc., 817 F.3d

1170, 1177 (9th Cir. 2016), and citing Lindstrom v. A–C Prod. Liab. Tr., 424 F.3d 488, 493

(6th Cir. 2005)). No science—even today—supports that such ambient exposure is

linked to disease. Thus, Count I should be dismissed with prejudice.




4/5/07), 954 So. 2d 145 (holding that a defendant, aware of the 1972 OSHA standards
had a duty to family members in a household exposure lawsuit). Again, the Plaintiff has
not alleged the alleged risks that define this case for the simple reason that he could
never prove such an allegation.


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II.       COUNT II FAILS TO STATE A CLAIM FOR CONSPIRACY

       In Count II, Plaintiff fails to plead sufficient facts to support a claim for conspiracy. 5

To state a claim for civil conspiracy under New Jersey law, Plaintiff must allege that a

defendant (1) entered into an agreement with at least one other person, (2) for the

purpose of committing an unlawful act, and (3) one of the conspirators then took at

least one overt act in furtherance of the agreement, and (4) plaintiff suffered some

damage as a result. Banco Popular N. Am. v. Gandi, 184 N.J. 161, 177, 876 A.2d 253, 263

(2005); see also Smith v. Honeywell Int'l Inc., No. 2:10-CV-03345 SDW, 2011 WL 810065, at

*5 (D.N.J. Feb. 28, 2011). Furthermore, the underlying tort for the conspiracy must be

intentional. Lewis v. Airco, Inc., No. A-3509-08T3, 2011 WL 2731880, at *32 (N.J. Super.

Ct. App. Div. July 15, 2011).

       Plaintiff fails even to allege facts showing that Owens-Illinois entered into an

agreement or any other necessary element of conspiracy. Indeed, Plaintiff has failed to

provide any facts which would even circumstantially support the notion of a

conspiracy. Thus, Count II should be dismissed with prejudice.

III.      COUNT IV FAILS TO STATE A CLAIM FOR STRICT LIABILITY.

       In Count IV, Plaintiff attempts to state a claim for strict products liability. Because

New Jersey law no longer recognizes a common-law strict liability claim for harm

allegedly caused by a product, Count IV should be dismissed with prejudice. N.J. Stat.

Ann. § 2A:58C-1 (“‘Product liability action’ means any claim or action brought by a

5
  Notably, this Court also has held that there is no evidence to support a conspiracy
claim against Owens-Illinois. Ellis v. Pneumo Abex Corp., No. 11-01128, 2013 WL 1099016,
at *1 (E.D. Pa. Jan. 3, 2013).


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claimant for harm caused by a product, irrespective of the theory underlying the claim,

except actions for harm caused by breach of an express warranty.”); Clements v. Sanofi-

Aventis, U.S., Inc., 111 F. Supp. 3d 586, 596–97 (D.N.J. 2015) (dismissing strict liability

count and collecting cases where “the Third Circuit, this district court, and the state

courts of New Jersey have consistently dismissed product liability claims based on

those common-law theories”).

IV.      COUNT V FAILS TO STATE ANY RECOGNIZABLE CLAIM.

      In Count V, Plaintiff seeks an unrecognizable claim titled as “neighborhood

exposure.” There is no such claim under New Jersey law. Thus, Count VI should be

dismissed with prejudice. See Rodrigues v. Wells Fargo Bank, N.A., No. 17-2294, 2018 WL

4631872, at *4 n.5 --- Fed. App’x ----, (3d Cir. Sept. 26, 2018) (”Rodrigues’s complaint

contains certain purported causes of action that are simply not cognizable …. The Court

rightly dismissed those claims.”).

V.       COUNT VI FAILS TO STATE A CLAIM FOR PUNITIVE DAMAGES.

      In Count VI, Plaintiff alleges a claim for punitive damages against Owens-Illinois.

Because punitive damages are a remedy, not a substantive cause of action, and there are

no factual allegations to support punitive damages, Count VI should be dismissed. In re:

Paulsboro Derailment Cases, No. 13-0784 (RBK/KMW), 2016 WL 3917646, at *2 (D.N.J.

July 18, 2016) (“New Jersey law does not provide an independent cause of action for

punitive damages.”).




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                                    CONCLUSION

   For these reasons, Owens-Illinois requests that this Court grant its motion to dismiss

and enter an order dismissing Plaintiff’s Amended Complaint against Owens-Illinois

with prejudice. Owens-Illinois also requests any further relief that this Court deems just

and proper.



Dated: October 12, 2018                  Respectfully submitted,

                                         MARON MARVEL BRADLEY
                                         ANDERSON & TARDY LLC

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                             CERTIFICATE OF SERVICE

      I hereby certify that on October 12, 2018, I served a true and correct copy of these

papers upon all counsel of record via electronic filing. These documents have been

electronically filed and are available for viewing and downloading from the ECF

system.




                                        /s/ Chad D. Mountain
                                        Chad D. Mountain, Esquire (86908)
